Case 1-25-41090-Jmm Docl Filed 0s/sU/c5

 

IMUM Coetirc Lets em come (-Tal im il -Mer: tte

United States Bankruptcy Court for the:

[ = as } tim District of

Case number (if known):

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

New Youle

(State)
Chapter

Entered Vo/oaQ/25 1400149

LJ Check if this is an
amended filing

06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name

ham it Enterprises Lic

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

Official Form 201

 

 

 

 

 

Principal place of business

doq-n 14t ne

Mailing address, if different from principal place
of business

 

 

 

 

 

Number Street Number Street
P.O. Box
a s MY 1/413
Chy State ZIP Code City State ZIP Code

Quzens

 

County

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 1
Case 1-25-41090-JmM Docl Filed Us/sUiz5o Entered Vo/so0/cs5 14700149

Debtor Kham iT Ex jerprises Lic Case number (if known)

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debior who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

WCorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
L) Partnership (excluding LLP)
CL) other. Specify:

 

A. Check one:

(J) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
UJ Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO) Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) learing Bank (as defined in 11 U.S.C. § 781(3))

Aron of the above

B. Check all that apply:

() Tax-exempt entity (as described in 26 U.S.C. § 501)

Q) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

 

Chegk one:
Ww Chapter 7
C) Chapter 9

C) Chapter 11. Check aif that apply:

() The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

CL) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

ha plan is being filed with this petition.

C) Accepiances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

LJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

QC) Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

 

e
Debior Lam iT Entevpnses Ac Case number (if known)

Name v

 

9. Were prior bankruptcy cases ro
filed by or against the debtor

 

 

within the last 8 years? OC) Yes. District When Case number
MM/ DD/YYYY

If more than 2 cases, attacha

separate list. District When Case number
MM/ DD/YYYY

10. Are any bankruptcy cases Aro
pending or being filed by a

 

 

business partner or an OU Yes. Debtor Relationship

affiliate of the debtor? District When

List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

 

41. Why is the case filed in this Check ail that apply:

district? ole menet _ «aig ciated
ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have u No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check ail that apply.)
attention?

LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CL) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C) It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CI other

 

Where is the property?
Number Street

 

 

City State ZIP Code

Is the property insured?
QC) No

Q) Yes. insurance agency

 

Contact name

 

Phone

Pam Statistical and administrative information

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

Bobiee Vhamit Eu levpuses Ue

Case number (if know)

 

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

as Request for Relief, Declaration, and Signatures

Check one:

(J Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

af vs

CJ 50-99
C} 100-199
CL) 200-999

afosso.c

$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

C) $0-$50,000

CL) $50,001-$100,000

ye 00,001-$500,000
$500,001-$1 million

(3 1,000-5,000
CJ 5,001-10,000
LJ 10,001-25,000

CI $1,000,001-$10 million

LJ $10,000,001-$50 million
LY $50,000,001-$100 million
LI $100,000,001-$500 million

C2 $1,000,001-$10 million

CJ $10,000,001-$50 million
C] $50,000,001-$100 million
LY $100,000,001-$500 million

LJ 25,001-50,000
LJ 50,001-100,000
CJ More than 100,000

LJ $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
2) $10,000,000,001-$50 billion
LJ More than $50 billion

LD $500,000,001-$1 billion

CL} $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
(CQ More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OZ 03 09:33 23

My 7 DD,/YYYY _

st

Si *_ (= repeBtentative of debtor

Title U Ouse) Healer

Cesar A. Fowvez

Printed name

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 4
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

Debtor Ky am iT Eu tev pass Lie Case number (if known),

 

 

 

 

 

 

 

 

18. Signature of attorney x Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

TMM EMU EUEL ae Rcon(s(lila matt -eerlteh

Debtor name Kh Qa M ! T n Ferprs SS le

United States Bankruptcy Court for the: Eastern District of N Y

(State)
Case number (If known):

 

 

LJ Checkif this is an

 

 

 

amended filing
Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15
Ea Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:

Copy line 88 from Schedule A/Beecessssssssssssssscsssesesssssssssssssssssssussssssstsssassenevsnssssssessusssssssesesansnnansssanauasasessessesaseesenense | $_

1b. Total personal property:

Copy line 91A from Schedule A/B.

 

1c. Total of all property:
Copy line 92 from Schedule A/B

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) so oO
Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule Du.....ccccecscsscsscessesessssscssescrees $ 9 ©9000

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:

 

 

Copy the total claims fromPart 1 fromline 5a of Schedule E/F oc cccccccccecsesecsseseseeseesevsestsscaccessvecscatsssessneces $
3b. Total am ount of claims of nonpriority am ount of unsecured claims:
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F....ccccsccesssscssssessssseseseeterenneceveceveteeens FS
—™
4. Total liabilities... ee ceecsesseesssessesnessscacseseesesesesssssesevsvassossenesesacsasesesesesevavavavavaussevesesessesasaveecacacadsagseseevaravaranacanes ss
Lines 2 + 3a+ 3b ‘500, oo-

 

 

 

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

MUM EM Colgiitl (Colum CoM Cols clam calor: toot

Debtor name Zam T En tucpn ws Cc

United States Bankruptcy Court for ne EOSIN District of N Y

{State}

Case number (if known): () Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

x No. Go to Part 2.
Q

Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest

2. Cash on hand $
3. Checking, savings, money market, or financial brokerage accounts (Identify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1.
3.2.

 

 

4, Other cash equivalents (identify all)
4.

 

4.2.

 

 

5. Total of Part 1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Ee Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

No. Go to Part 3.

UC) Yes. Fill in the information below.

Current value of
debtor's interest

7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7.1.
7.2. $

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

 

Debtor nam ! T Enferp n Ses Le Case number (if known)

Narle

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment
8.1. $
8.2, $

 

9. Total of Part 2.
Add lines 7 through 8. Copy the total to line 81.

 

 

 

Se Accounts receivable

10. Does the debtor have any accounts receivable?
Fano. Go to Part 4.
Q) Yes. Fill in the information below.

Current value of debtor's

 

 

 

 

 

 

 

 

 

 

 

 

 

 

interest
11. Accounts receivable
11a. 90 days old or less: - am > $
face amount doubtful or uncollectible accounts
11b. Over 90 days old: 7 = cae > $
face amount doubtful or uncollectible accounts
12. Total of Part 3 $
Current value on lines 11a + 11b = line 12, Copy the total to line 82.
Ca Investments
13. Does the debtor own any investments?
No. Go to Part 5.
CL} Yes. Fill in the information below.
Valuation method Current value of debtor’s
used for current value interest
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1. $
14.2. $
15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:
15.1. % —_ §
15.2. % $
16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
16.4. $
16.2. $
17. Total of Part 4 $
Add lines 14 through 16. Copy the total to line 83.

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 2
Debtor Viom , T Ex fevpv eS Lic Case number (if known),
Name

Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

Ey Inventory, excluding agriculture assets

18.

19.

20.

21.

22.

23.

24.

25.

26.

Does the debtor own any inventory (excluding agriculture assets)?
jo. Go to Part 6.
CJ Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value

(Where available)

Raw materials

 

 

MM /DD/YYYY $

Work in progress

 

MM /DD/YYYY $

 

Finished goods, including goods held for resale

 

 

MM /DD/YYYY

Other inventory or supplies

 

 

MM /DD/YYYY $

Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

Is any of the property listed in Part 5 perishable?

GL No
L) Yes

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
® No
L) Yes. Book value Valuation method Current value

Has any of the property listed in Part 5 been appraised by a professional within the last year?

LJ No
QO) Yes

aa Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

28.

29.

30.

31.

32.

Current value of
debtor's interest

 

 

 

 

No. Go to Part 7.

U) Yes. Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value

(Where available)

Crops—either planted or harvested

Current value of debtor's
interest

 

 

 

 

$
Farm animals Examples: Livestock, poultry, farm-raised fish

$
Farm machinery and equipment (Other than titled motor vehicles)

$
Farm and fishing supplies, chemicals, and feed

$

 

 

Other farming and fishing-related property not already listed in Part 6
$

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

page 3

 
Debtor Zraens T En levprivs ile Case number (if known),

33.

34,

35.

36.

37.

Case 1-25-41090-JmmM Docl Filed Us/s0iz5 Entered Vo/so0/25 14700149

Total of Part 6.
Add lines 28 through 32. Copy the total to line 85.

Is the debtor a member of an agricultural cooperative?

jo
L} Yes. Is any of the debtor's property stored at the cooperative?

LJ No
C) Yes
Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

Meno

C) Yes, Book value $ Valuation method Current value $
Is a depreciation schedule available for any of the property listed in Part 67

Yeno

C0 ves
Has any of the property listed in Part 6 been appraised by a professional within the last year?
LI No
CY Yes

Office furniture, fixtures, and equipment; and collectibles

38.

39.

40.

41,

42.

43.

44,

45.

 

 

 

 

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

PE. no. Go to Part 8.

C) Yes. Fill in the information below.

General description Net book value of Valuation method

debtor's interest used for current value
(Where available)

Office furniture

Current value of debtor’s
interest

 

 

$
Office fixtures

$
Office equipment, including all computer equipment and
communication systems equipment and software

$

 

Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles

 

 

 

Add lines 39 through 42. Copy the total to line 86.

Is a depreciation schedule available for any of the property listed in Part 7?

CI No
C) Yes

Has any of the property listed in Part 7 been appraised by a professional within the last year?

) No
UO) ves

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

42.1 $ $
42.2 $ $
42.3 $ $

Total of Part 7. $

 

page 4

 

 
Debtor K ham T En lerprises ic Case number (i known),

Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

 

Name T

Machinery, equipment, and vehicles

46.

47.

48.

49.

50.

51.

52.

53.

Does the debtor own or lease any machinery, equipment, or vehicles?

No. Go to Part 9.
CJ Yes. Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value
Include year, make, model, and identification numbers (i.e., VIN,

HIN, or N-number) (Where available)

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

47.1 $ $
47.2 $ $
47.3 $ $
47.4 $ $
Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $ $
48.2 $ $
Aircraft and accessories
49.1 $
49.2 $ $
Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
$ $
Total of Part 8. $

Add lines 47 through 50. Copy the total to line 87.

Is a depreciation schedule available for any of the property listed in Part 8?

L) No
U) Yes

Has any of the property listed in Part 8 been appraised by a professional within the last year?

O No
Q) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 5

 
Debtor awit tn teviwise 8 Ue Case number (if known)

Case 1-25-41090-JmmM Docl Filed Us/s0izo Entered Vo/soQ/c25 1400149

54.

55.

56.

57.

58.

Does the debtor own or lease any real property?

CL) No. Go to Part 10.
Yes. Fill in the information below.

Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Nature and extent Net book value of Valuation method used

Current value of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Include street address or other description such as of debtor’s interest debtor's interest for current value debtor’s interest
Assessor Parcel Number (APN), and type of property in property (Where available)
(for example, acreage, factory, warehouse, apartment iS
or office 94-11 if avaiable. S$ Ciirt

24-11 He Queens WY 1143 ceva s s
55.2 $ $
55.3 $ $
55.4 $ $
55.5 $ $.
55.6 $ $
Total of Part 9. $

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule available for any of the property listed in Part 97

U) No

C) Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?
C] No

C) Yes

x Intangibles and intellectual property

59.

60.

61.

62.

63.

64.

65.

66.

Does the debtor have any interests in intangibles or intellectual property?
CI No. Go to Part 11.
LI) Yes. Fill in the information below.
General description Net book value of Valuation method
debtor's interest used for current value
(Where available)
Patents, copyrights, trademarks, and trade secrets

 

 

Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

$ $
Internet domain names and websites

$ $
Licenses, franchises, and royalties

$ $
Customer lists, mailing lists, or other compilations

$ $
Other intangibles, or intellectual property $

$

Goodwill

§. $
Total of Part 10. $

Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

page 6

 

 
Debtor Vhawit Enjevpriges Lle_ Case number (irknown)

Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

Name ]

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

68.

69.

No
O) Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?

No
CL] Yes
is any of the property listed in Part 10 been appraised by a professional within the last year?
ie No
L] Yes

Eo All other assets

70.

71,

72.

73.

74,

75.

76.

77.

78.

79.

Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.
LU No. Go to Part 12.

QC) Yes. Fill in the information below.

Notes receivable
Description (include name of obligor)

 

 

 

Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

_ => ¢
Tatal face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year $
Tax year $
Tax year $
Interests in insurance policies or annuities
$
Causes of action against third parties (whether or not a lawsuit
has been filed)
$
Nature of claim
Amount requested $
Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
Trusts, equitable or future interests in property
$
Other property of any kind not already listed Examples: Season tickets,
country club membership
Total of Part 11. $

Add lines 71 through 77. Copy the total to line 90.

Has any of the property listed in Part 11 been appraised by a professional within the last year?

UO) No
O) yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

 

 

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T lie
Debtor \ ham I tu tovprises Case number (if known)
Name

In Part 12 copy all of the totals from the earlier parts of the form.

Type of property Current value of Current value
personal property of real property
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $
81. Deposits and prepayments. Copy line 9, Part 2. $
82. Accounts receivable. Copy line 12, Part 3. $
83. Investments. Copy line 17, Part 4. $
84, inventory. Copy line 23, Part 5. $
85. Farming and fishing-related assets. Copy line 33, Part 6. $
86. Office furniture, fixtures, and equipment; and collectibles. $

Copy line 43, Part 7.

 

 

 

 

 

 

 

 

 

 

87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $
88. Real property. Copy line 56, Part 9. . .ccssccccecscssssssssssssestersssececsearsnsesteceesesececcesestsncacaeavecseseres > $
89. Intangibles and intellectual property. Copy line 66, Part 10. $
90. All other assets. Copy line 78, Part 11. +
——
91. Total. Add lines 80 through 90 for each COLUM. ....cc.ssesssesceesssesesees 91a. $i og | 8
92. Total of all property on Schedule A/B. Lines 91a + 91D = 92... .cecesccsssesscscscsssvsussessscecsvarsesevscsearsvavsusecesesaescestaceeatsceeceteces $

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 8
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

MOMMA Comite LCColem Come (ul (km ut Mers Lt h

Debtor name

 

United States Bankruptcy Court for the:

Case number (If known):

District of
(State)

() Check if this is an

 

Official Form 206D

 

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

amended filing

12/15

1. Do any creditors have claims secured by debtor’s property?
Q . Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
es. Fill in ail of the information below

List Creditors Who Have Secured Claims

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

El cy nell s name

Ipo mT

Creditor’s mailing address

PO Bet. 51850
na

Creditor’s email address, if known

 

Date debt was incurred e606

rast — of account 6 a ue

Do multiple creditors have an interest in the
same property?
No

Yes. Specify each creditor, including this creditor,

and its relative priority.

 

 

 

 

 

 

 

 

 

 

 

 

EX] creditor's name

 

Creditor’s mailing address

 

 

Column A Column B
Amount of claim Value of collateral
Do not deduct the value that supports this
of collateral. claim

Describe d ia iave. rty that is subject to a lien

234 ) " 144 $ $

Spring held Cowles A MHS
Describe the lien N ovig-ace «

is the creditor an insider or related party?

No

() Yes

Is anyone else liable on this claim?

OD No

Yes. Fill out Schedule H: Codebfors (Official Form 206H).

As of the petition filing date, the claim is:

Check all that apply.

QO Contingent

Q Unliquidated

(& Disputed
Describe debtor's property that is subject to a lien

$ $

 

 

 

 

 

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?

 

 

Describe the lien

 

Is the creditor an insider or related party?
QO) No
QO) Yes

Is anyone else liable on this claim?
CQ) No
Q) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

CJ No QC) Contingent
( Yes. Have you already specified the relative Q unliquidated
priority? C) Disputed
C2 No. Specify each creditor, including this
creditor, and its relative priority.
Q) Yes. The relative priority of creditors is
specified on lines
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $

Page, if any.

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 4
Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

Debtor nam iT Ento~m se Le Case number (if known),

Name

ee List Others to Be Notified for a Debt Already Listed in Part 1

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection

agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address

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Sutt. 50p
— Bons Fact 0 S33
Gu 245-3030

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—_ Wai Tang try DE $j

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___ Queens [Brrrta. - Yings

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which line in Part 1
did you enter the
related creditor?

Line 2.

Line 2.

Line 2.

Line 2.

Line 2. ___

Line 2.___

Line 2.

Line 2.

Line 2.

Line 2.___

Line 2.

Line 2.

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

Last 4 digits of
account number
for this entity
Case 1-25-41090-Jmm Docl Filed 0s/sU/c5

MUM EMU Colatitclitelam Come (tnd) Am (alert

Debtor name Vyam IT En Wwe
ion

ww

{State}

United States Bankruptcy Court for the: District of

Case number (If known):

 

Official Form 206H
Schedule H: Codebtors

 

 

Entered Vo/oaQ/25 1400149

C] Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach

the Additional Page to this page.

1. Does the debtor have any codebtors?

CQ) No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

QL) Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor

Column 2: Creditor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Mailing address Name ae genes
ft
21 J 06 Fea eave. 224-n 14440 ob
Street O EF
QG
d ens NY
7 e og City State ZIP Code
2.2 . qn
EL'seo Faue~e~ _229- IL 14 We ab
' Street " 0 EF
OG
Gadus NY 443
City, State ZIP Code
2.3
QD
Street O EF
OG
City State ZIP Code
2.4
D
Street O EIF
G
City State ZIP Code
2.5
OD
Street Q EF
G
City State ZIP Code
2.6
QOD
Street O EF
QG
City State ZIP Code

Official Form 206H Schedule H: Codebtors

page 1 of 2
Case 1-25-41090-JmmM Docl Filed Us/sUiz5o Entered Vo/soQ/25 14°00'49

Debtor _ Kromet fin fevprises Lle

a Additional Page if Debtor Has More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor

Case number (if known!

Column 2: Creditor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Mailing address

2

Street

City State ZIP Code
2.

Street

City State ZIP Code
2.

Street

City State ZIP Code
2.

Street

City State ZIP Code
2

Street

City State ZIP Code
2.

Street

City State ZIP Code
2

Street

City State ZIP Code
2.

Street

City State ZIP Code

 

Official Form 206H

Schedule H: Codebtors

Check ail schedules
that apply:

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na TT T

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a
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D
E/F

Ooo

o
Q
7

page _2rot_B
Case 1-25-41090-Jmm Docl Filed 0s/sU/c5

Name

Debtor vomit Enterprises LL@

Additional Page

Case number (i known)

Column A
Amount of claim

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the

previous page.

fa] Creditor’s name

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the

same property?

QO) No

CI] Yes. Have you already specified the relative
priority?

C1 No. Specify each creditor, including this
creditor, and its relative priority.

 

Cl) Yes. The relative priority of creditors is
specified on lines

e-| Creditor’s name

 

Creditor’s mailing address

 

 

Creditor’s email address, if known

 

Date debt was incurred

Last 4 digits of account
humber

Do multiple creditors have an interest in the
same property?

CO] No

QO Yes. Have you already specified the relative
priority?
C2 No. Specify each creditor, including this
creditor, and its relative priority.

 

 

 

U1 Yes. The relative priority of creditors is
specified on tines

Official Form 206D

Describe debtor’s property that is subject to a lien

 

 

 

Describe the lien

 

Is the creditor an insider or related party?
O) No
QO) Yes

is anyone else liable on this claim?
UO No
Q) Yes. Fill out Schedule H: Codebtors (Official Form 206h).

As of the petition filing date, the claim is:
Check all that apply.

) Contingent
) Unliquidated
OQ} Disputed

Describe debtor's property that is subject to a lien

 

 

 

Describe the lien

 

Is the creditor an insider or related party?
QI No
QC) Yes

Is anyone else liable on this claim?
OQ) No
(1 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent
Q) Uniiquidatea
Q Disputed

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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Column B
Value of collateral
Do not deduct the value that supports this

of collateral. claim

page dot 3
Case 1-25-41090-Jmm Docl Filed 0s/sU/c5

Knuckles.Komosinski & Manfro, LLP
Attorney for the Plaintiff

565 Taxer Rd

Suite 500

Elmsford NY 10523

Wilmington Savings & Fund Society FSB
500 Delaware Ave 11° Floor
Wilmington DE 19801

David Louis Cohan ESQ Referee

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Case 1-25-41090-JmmM Docl Filed OUs/s0iz5o Entered Vo/oQ/c25 14700149

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

In re: Ahamcy En herprteg Ue Case No.
Chapter
Debtor(s)
x
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: A. OXINe % wnoper3e

Address: 29> WWJ (te Gf. hy WY ( 90 3D
Email Address: rrawehluze VX @ 00. com ,

Phone Number: HX >, BAS Sat 3

Name of Debtor(s): Khanut Entevprcae Uc

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

 

 

/ I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
I WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

Dated: 3124] 3 Mohan Bn pots

Filer’s Signature

 

 
